                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. 3:13-cr-153
     v.                                              )       Judge Aleta A. Trauger
DORIAN AYACHE and                                    )
THERESA C. VINCENT                                   )

                                 MEMORANDUM & ORDER

       Defendant Dorian Ayache has filed a Motion to Suppress and Request for Franks Hearing

(Docket No. 27), to which the government filed a Response in opposition (Docket No. 30), and

Ayache filed a Reply (Docket No. 31). Defendant Theresa Vincent also filed a Motion to

Suppress and Request for Franks Hearing (Docket No. 42), to which the government filed a

Response in opposition (Docket No. 54). The court granted the requests for a Franks hearing,

which took place on February 27-28, 2014. In a March 4, 2013 Order, the court denied both

motions, to the extent that they requested relief under Franks, but reserved judgment on the issue

of overbreadth. (Docket No. 53.) For the reasons stated herein, the court finds that the searches

at issue were not overbroad.

                                        BACKGROUND

       On June 24, 2013, the Magistrate Judge issued warrants authorizing searches of each

defendant’s Yahoo email account for the period from June 1, 2012 through June 23, 2013. The

warrant applications were supported by an Affidavit from Department of Transportation (“DOT”)

Special Agent Tammie Moore.1 At the conclusion of the Franks hearing, the court found that,


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         The Affidavits filed in support of the application for both search warrants are identical.
(See Docket No. 27, Ex. A, Attachment C; Docket No. 42, Ex. A, Attachment C.) The court will
refer to these Affidavits in the singular as the “Affidavit.”

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even after excising ¶ 38 from the Affidavit,2 the Affidavit otherwise established probable cause

with respect to the remaining (non-dismissed) crimes with which Ayache and Vincent are

charged, including the remaining counts against one or both defendants under 18 U.S.C. § 371,

18 U.S.C. § 1512(c)(1), and 18 U.S.C. § 1623.3 (See Docket No. 52, Order.) The defendants

argue that, even if the warrant established some form of probable cause, the authorized searches

were overbroad.

                                            ANALYSIS

       “The standard of review for the sufficiency of an affidavit ‘is whether the magistrate had a

substantial basis for finding that the affidavit established probable cause to believe that the

evidence would be found at the place cited.’” United States v. Greene, 250 F.3d 471, 478 (6th

Cir. 2001) (quoting United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991)). The Fourth

Amendment requires warrants to “particularly describe the place to be searched, and the persons

or things to be seized.” U.S. Const. amend IV. “A general order to explore or rummage through

a person’s belongings is not permitted. The warrant must enable the searcher to reasonably

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        In ¶ 38 of her Affidavit, Moore averred that, in response to a grand jury subpoena,
Ayache had not produced three emails dated March 20, April 2, and May 7, 2013. Moore’s
statement was false: Ayache had produced those three particular emails in response to the grand
jury subpoena. However, at the Franks hearing, the government showed that Ayache in fact had
not produced three other emails in response to the grand jury subpoena – i.e., Moore (recklessly)
had the dates wrong in the Affidavit.
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         On February 14, 2014, the court dismissed Counts One through Nine of the Indictment
against Ayache. (Docket Nos. 35 and 36.) The remaining charges against Ayache are (1) one
count of conspiracy to defraud the United States or one of its agencies or departments for the
purpose of impairing, obstructing, and defeating its lawful functions, 18 U.S.C. § 371; and (2)
two counts of destroying or attempting to destroy Yahoo emails with the intent to impair their
ability for use by the federal grand jury during two different time frames, in violation of 18
U.S.C. § 1512(c)(1). The remaining charges against Vincent are: (1) conspiracy in violation of
18 U.S.C. § 371; and (2) giving false material declarations to the grand jury concerning her
communications with Ayache, in violation of 18 U.S.C. § 1623.

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ascertain and identify the things which are authorized to be seized.” United States v. Savoy, 280

F. App’x 504, 510 (6th Cir. 2008) (citing United States v. Cook, 657 F.2d 730, 733 (5th Cir.

1981)). “The particularity requirement eliminates the ‘danger of unlimited discretion in the

executing officer’s determination of what is subject to seizure.’” United States v. Savoca, 761

F.2d 292, 298-99 (6th Cir. 1985). “The warrant process is primarily concerned with identifying

what may be searched or seized – not how – and whether there is sufficient cause for the invasion

of privacy thus entailed.” United States v. Evers, 669 F.3d 645, 651 (6th Cir. 2012) (emphases in

original) (quoting United States v. Upham, 168 F.3d 532, 537 (1st Cir. 1999)).

       With respect to electronically stored information, the Sixth Circuit has repeatedly found

that searches of computers and other forms of electronic media create “practical difficulties” that

require a flexible approach to the application of the particularity requirement. See, e.g., United

States v. Evers, 669 F.3d at 653-54 (“[A] computer search may be as extensive as reasonably

required to locate the items described in the warrant based on probable cause.”) (quoting United

States v. Richards, 659 F.3d 527, 536 (6th Cir. 2011)); see also United States v. Lucas, 640 F.3d

168, 178 (6th Cir. 2011). Ultimately, “[a] search warrant must particularly describe the things to

be seized, but the description, whose specificity will vary with the circumstances of the case, will

be valid if it is as specific as the circumstances and the nature of the activity under investigation

permit.” Guest v. Leis, 255 F.3d 325, 337 (6th Cir. 2001); Evers, 669 F.3d at 652 (“[A] warrant

authorizing the seizure of a defendant’s home computer equipment and digital media for a

subsequent off-site electronic search is not unreasonable or overbroad, as long as the probable-

cause showing in the warrant application and affidavit demonstrate a ‘sufficient chance of finding

some needles in the computer haystack.’”) (quoting United States v. Upham, 168 F.3d 532, 537



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(1st Cir. 1999)).

       The Sixth Circuit has rejected an attempt to limit email searches to “particular senders and

recipients of e-mail,” where limiting the search in that fashion “would hamper the search for

evidence tying defendants” to the illegal activity with which they are charged. United States v.

Hanna, 661 F.3d 271, 287 (6th Cir. 2011) (quoting United States v. Hanna, 2008 WL 2478330,

at *6 (E.D. Mich. June 17, 2008)). Furthermore, the Sixth Circuit has also looked to whether the

temporal scope of an electronic search is tailored to the period of time in which other evidence

has suggested that illegal activity occurred. See Hanna, 661 F.3d at 287. The government has

also identified numerous federal courts that have approved warrants for the seizure of all emails

in a defendant’s account, where there was probable cause to believe that the email account

contained evidence of a crime.4 Here, aside from the Sixth Circuit’s decision in United States v.

Warshak holding that individuals have a reasonable expectation of privacy in their email account

(see 631 F.3d 266 (6th Cir. 2010)) – a point not in dispute – the defendants have not identified

any cases relating to the issue of email privacy, let alone cases showing that email searches




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         See United States v. McDarrah, 2006 WL 1997638, at *2, *9-*10 (S.D.N.Y. July 17,
2008), aff’d 351 F. App’x 558 (2d Cir. 2009) (summary order) (search not overbroad, where
warrant authorized search of “[a]ll stored electronic mail and other stored content information
presently contained in, or on behalf of, the following electronic mail address[]: ps4
alum@aol.com . . .”); United States v. Bowen, 689 F. Supp 2d 675, 680-685 (S.D.N.Y. 2010)
(searches of all records within defendants’ email accounts were not overbroad); United States v.
Hyer, 2010 WL 2160911 (E.D. Mo. Apr. 29, 2010) (search of defendant’s AOL email account
for a four-year period for evidence of child pornography was not overbroad, where defendant had
uploaded pornography, detective affiant stated that collectors of child pornography often trade
images with others, and defendant admitted in police interview that he might have uploaded
pornographic images from his AOL e-mail account); United States v. Deppish, — F. Supp. 2d —
, 2014 WL 349735, at *7 (D. Kan. 2014) (upholding warrant for “all contents” of two Yahoo
accounts without time restrictions, where defendants’ email addresses were linked to username
on child pornography site).

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should be restricted, as a general matter, to communications between two specific users when

there is probable cause to believe that an email account contains evidence of a crime.

       Here, disregarding the untrue statements in ¶ 38, the Affidavit establishes as follows:

       •       Ayache was served with a § 521(b)(5) Imminent Hazard Order on June 28,
               2012 (“First IHO”) directing him to cease all motor vehicle operations and
               not to “use lessees, lessors, owner-operators, affiliates, assigns or other
               commercial motor vehicles or motor carriers to conduct any continued
               operations.” The First IHO directed Ayache to cease using four specific
               motor vehicles (the “Impounded Vehicles”).

       •       On July 6, 2012, Ayache sold an Impounded Vehicle to a third-party
               without obtaining written authorization for the transaction.

       •       On July 16, 2012, with assistance from Ayache, Vincent registered for and
               received a new DOT number in her own name, d/b/a “Terri’s Farm.” On
               that same date, the Tennessee Department of Revenue issued certificates of
               title to Vincent for two of the Impounded Vehicles, even though Ayache
               had been prohibited from selling, leasing, or otherwise transferring that
               equipment without DOT authority. Ayache “actively assisted” Vincent in
               organizing and operating Terri’s Farm.

       •       Although an individual named Mance Frank Reed stated that he had never
               given Ayache permission to register a DOT number on his (Reed’s) behalf,
               a DOT application in the name of “Frank Reed” was submitted to the
               DOT, Ayache’s credit card was used to pay for the application, a fictitious
               name was listed as the “Secretary” of the motor carrier applicant, and
               Ayache possessed and produced a copy of the DOT application in
               response to a grand jury subpoena.

       •       On July 20, 2012, Ayache drove one of the Impounded Vehicles in
               violation of the First IHO. On July 27, 2012, another individual, Arlin
               Martin, drove an Impounded Vehicle.

       •       On July 29, 2012, Larry Montgomery drove one of the Impounded
               Vehicles on behalf of Terri’s Farm.

       •       On October 12, 2012, Mance Frank Reed drove one of the Impounded
               Vehicles on behalf of “F R Farm.”

       •       Based on information available to the government as of the date of the
               Affidavit, “it does not appear that [Ayache] has produced all responsive

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               emails, and evidence shows that he is withholding and concealing
               responsive emails.” Similarly, “it does not appear that [Vincent] has
               produced all responsive e-mails, and evidence shows that she is
               withholding and concealing responsive e-mails.” For example,
               information obtained from Yahoo (in response to an order issued under 18
               U.S.C. § 2703(d)) reflected that an email was sent from Ayache’s account
               (dgayache@yahoo.com) to Vincent’s account (terricvincent@yahoo.com),
               but neither Ayache nor Vincent had produced this email to the
               government.

       •       On August 1, 2012, an email was sent from dgayache@yahoo.com to
               terricvincent@yahoo.com, attaching an insurance identification card issued
               to Ayache/Three Angels Farms with respect to an Impounded Vehicle.

       •       On August 14, 2012, an email was sent from Vincent’s account to
               Ayache’s account, proposing a three-party transaction involving one of
               Ayache’s trucks and a $5,000 payment from Vincent as a means to “get
               back on the road RIGHT NOW.” The email also indicated that the
               transaction would “look like separate deals to DOT.”

       •       On September 6, 2012, an email was sent from Vincent’s account to
               Ayache’s, referencing DOT numbers associated with the trucks that
               Ayache had taken back from Vincent.

       Taking these averments collectively, the Affidavit established probable cause to justify a

search of all of Ayache’s and Vincent’s Yahoo emails from June 1, 2012 through June 2013. The

Affidavit demonstrates that, starting from the time that Ayache received the First IHO in June

2012, he undertook repeated efforts to flout the IHO’s terms, defraud the government, and

generally frustrate the DOT’s ability to perform its lawful functions, including its role in

maintaining public safety through the imposition of § 521(b)(5) IHOs. For example, in violation

of the First IHO: Ayache utilized Vincent as a straw applicant for a new DOT registration,

transferred his trucks to her, and attempted to resume business operations under her name;

Ayache submitted a fictitious application for “F R Farms;” and multiple individuals

(Montgomery, Martin, and Reed) were caught driving the Impounded Trucks, indicating that



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Ayache had disposed of them in some way. The Affidavit also establishes that Ayache and

Vincent were using email to communicate about his continued trucking operations in violation of

the IHO, that Ayache and Vincent had recently deleted or were otherwise withholding emails

from the government’s investigation, and that Vincent may have lied about the extent of her

contact with Ayache. These facts are sufficient to establish that a search of all of their emails was

warranted with respect to the remaining criminal charges, including the counts for conspiracy,

obstruction of justice, and/or making false statements to the grand jury.5 Neither the facts nor the

law require that a “reasonable” search should have been limited – artificially – only to emails

between Ayache’s account and Vincent’s. Indeed, with respect to the obstruction of justice

charges, it would have been illegal for Ayache or Vincent to withhold any responsive emails

from the government, even emails with third parties.

        The court also finds that the temporal limitation on the search warrants – June 2012

forward – was reasonable. The Affidavit indicates that, almost immediately after receiving the

First IHO in June 2012, Ayache began communicating with Vincent and utilizing her to set up a

new business in violation of the First IHO. He continued with his efforts to continue to somehow

operate his business into the Fall of 2012, and it was reasonable to suspect that his efforts

continued after that. Therefore, the time limitation on the searches was well-tailored to the facts

set forth in the Affidavit.




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        The court’s conclusion is even stronger with respect to Ayache. Given that Ayache
apparently was interacting with multiple individuals in furtherance of his efforts to defraud the
government (Vincent, Montgomery, Martin, and Reed) and that he was using his email account
to discuss trucking operations with Vincent, there was certainly probable cause to believe that his
email account might contain evidence of his conspiratorial efforts involving these other
individuals.

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       In sum, the courts rejects the defendants’ arguments that the search warrants were

overbroad. Therefore, with respect to the remaining issue of overbreadth, the motions are

hereby DENIED.

       It is so ORDERED.

       Enter this 10th day of March 2014.


                                                    ______________________________
                                                    ALETA A. TRAUGER
                                                    United States District Judge




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